
844 A.2d 405 (2004)
380 Md. 194
In the Matter of the Application of Jeffrey LAWSON for Admission to the Bar of Maryland.
Misc. No. 17, Sept. Term, 2003.
Court of Appeals of Maryland.
March 11, 2004.
Edward Smith, Jr., Baltimore, for applicant.
*406 Argued before BELL, C.J., RAKER, WILNER, CATHELL, HARRELL, BATTAGLIA and GREENE, JJ.

ORDER
ROBERT M. BELL, Chief Judge.
The Court having considered the favorable recommendations of the Character Committee for the Sixth Appellate Circuit and the State Board of Law Examiners concerning Jeffrey Lawson's application for admission to the Bar of Maryland, and the oral argument of applicant's counsel presented at a hearing held before this Court on March 4, 2004, it is this 11th day of March, 2004
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the favorable recommendations of the Character Committee for the Sixth Appellate Circuit and the State Board of Law Examiners be, and they are hereby, accepted and it is further
ORDERED, that the applicant, Jeffrey Lawson, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State, subject only to the filing of an updating oath.
